
933 So.2d 657 (2006)
Angel MULGADO, Appellant,
v.
Deisy RODRIGUEZ, Appellee.
No. 1D06-0813.
District Court of Appeal of Florida, First District.
July 6, 2006.
Angel Mulgado, pro se, Appellant.
No appearance for Appellee.
Philip C. Claypool, General Counsel, and Julia Cobb Costas, Staff Counsel, for Florida Commission on Ethics, Tallahassee.
PER CURIAM.
The Commission on Ethics' motion to dismiss is granted. This appeal is hereby dismissed. Appellant as complainant was not a party to the proceeding below before the Commission on Ethics, and, therefore, is not a proper party to proceed in this appeal. See § 112.3241, Fla. Stat. (2005); Fla. Admin. Code Rule 34-5.011 (providing *658 that the respondent is the only party to an action before the Commission on Ethics).
BARFIELD, VAN NORTWICK, and LEWIS, JJ., concur.
